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AO 106(Rev. 01/09) Application for a Search Warrant



                                                  United States District Court
                                                                                             for the
                                                                      Western District of New York

                                                  In the Matter of the Search of
                               (Briefly describe the property to be searched or identify the person by name and address.)


                   Cellular telephone facility assigned number 716-990-2686,
               bearing IMSI310150720590647, subscribed to by James Seright,                                                             Case No. 19-mj-1027
             2736 21'' Street, Niagara Falls, NY 14305 and utilized by Jake Seright

                                                   APPLICATION FOR A SEARCH WARRANT

            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched andgive its location)'.


  Cellular telephone facility assigned number 716-990-2686, bearing IMSI 310150720590647, subscribed to by James
  Seright, 2736 21" Street, Niagara Falls, NY 14305 and utilized by Jake Seright.

The precise location data concerning the mobile telephone facility named above for the earlier of a period of thirty
(30)days starting within fourteen(14) calendar days ofthe date of the order, during any time of day.
The basis for search under Fed. R. Crim. P. 41(c) is (check one ormore)\
       la evidence of a crime;
       □ contraband, fruits of crime, or other items illegally possessed;
       K property designed for use, intended for use, or used in committing a crime;
       □ a person to be arrested or a person who is unlawfully restrained.
The search is related to violations of 21 U.S.C. Sections 841(a)(1) and 846.

The application is based on these facts:

                  continued on the attached sheet.
                  Delayed notice of                       days (give exact ending date if more than 30 days:                        June 30. 2019       Jis
                  requested under 18 U.S.C. § 3103a, the basis of whJ^iTs^t foffjh on the,af&hed sheet.

                                                                                                                             Applicant's signature
                                                                                                           DAVIDP. LEAKY
                                                                                                           Special Agent
                                                                                                           Drug Enforcement Administration
                                                                                                                            Printed name and title



Sworn to before me and signed in my presence.

Date:       March,^?/ .2019
                                                                                                                                 Judge s signature


                                                                                                           HONORABLE JEREMIAH J. McCARTHY
City and state: Buffalo. New York                                                                          UNITED STATES MAGISTRATE JUDGE
                                                                                                                               Printed name and Title
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                     AFFIDAVIT IN SUPPORT OF APPLICATION




STATE OF NEW YORK )
COUNTY OF ERIE    )                SS:
CITY OF BUFFALO   )



       DAVID P.LEARY,Special Agent with the U.S. Drug Enforcement Administration

(DEA), Department of Justice, having been duly sworn, states as follows:



                                    INTRODUCTION


       1.      I am a Special Agent(SA)with the Drug Enforcement Administration(DEA),

Buffalo Resident Office, where I investigate narcotics trafficking, and, as such, I am an

"investigative or law enforcement officer" of the United States who is empowered by law to

conduct investigations of and to make arrests for offenses enumerated in the Comprehensive

Drug Abuse Prevention and Controlled Substance Act of 1970, Title 21 of the United States

Code, as amended. I have been employed as a SA with the DEA since February 2009, and

have participated in numerous investigations concerning the distribution of narcotics drug

proceeds.



       2.      I received training, both academic and practical application, in the areas of

informant handling/debriefing, drug packaging, pricing, importation, and trafficking

methods. In addition, I received both academic and practical application training in

surveillance and counter surveillance techniques/methods. I have received legal instruction

in federal drug conspiracy laws, preparing drug affidavits, the Controlled Substances Act,
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Fourth Amendment Searches and Seizures, Federal Rules of Evidence, and the execution of

search warrants. Based on my training, experience, and conversations with other Special

Agents and Task Force Officers of the DBA,I am famihar with how controlled substances

are cultivated, manufactured, processed, packaged, distributed, sold, and used within the

framework of a drug trafficking organization.



       3.      I have supervised, led, conducted, and assisted with complex criminal, multi-

jurisdictional investigations targeting the importation, exportation, smuggling, transporting,

trafficking, and distribution of controlled substances (conducted by Drug Trafficking

Organizations or DTOs). I am familiar with how controlled substances are produced,

packaged, smuggled, transported, distributed, and used within the framework of drug

distribution operations conducted by DTOs and how drug traffickers and DTOs utilize wire

communications to facilitate their illegal activities. I have also supervised, conducted and

assisted with investigations utilizing judicially authorized intercepts of communication

devices, "wiretaps," and have reviewed recorded conversations and drug records/ledgers

pertaining to narcotics trafficking. I have also conducted and participated in numerous

debriefings of narcotic traffickers, confidential informants, cooperating defendants,

cooperating individuals, and sources ofinformation.



       4.      The information contained in this Affidavit is based upon your Affiant's

personal knowledge, upon reports and information received from other law enforcement

officers and agencies, and other law enforcement activities.
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       5.      As a result of working on this case with other Special Agents and Task Force

Ofl&cers of the DBA,the New York State Attorney General's Organized Crime Task Force

(NYSAG OCTF),the Niagara Falls New York Police Department and other law enforcement

agencies, I am familiar with the circumstances of the offenses described in this Affidavit.

This affidavit is being submitted or a limited purpose, that is, a probable cause determination,

therefore I have not presented all of the facts of this investigation to date. I have set forth

only the information I believe to be necessary to establish probable cause to acquire precision

data location oftelephone number 716-990-2686.



       6.      I submit this affidavit in support of an application for an order pursuant to

Federal Rule of Criminal Procedure 41 and Title 18, United States Code, Section

2703(c)(1)(A), directing Cricket Wireless and/or AT&T,' a wireless communication

provider, to assist agents of the DBA by providing all information, facilities and technical

assistance needed to ascertain the physical location of the cellular telephone assigned call

number 716-990-2686, which is a device serviced by Cricket Wireless and/or AT&T,

bearing International Mobile Subscriber Identity (IMSI) number 310150720590647,

subscribed to by JAMES SERIGHT with an address listed on the account as 2736 2P'Street,

Niagara Falls, NY 14305 (hereinafter referred to as the "Target Telephone"), including but

not limited to data indicating the specific latitude and longitude of(or other precise location

information concerning) the target telephone (collectively referred to as the "Requested




1. According to information received pursuant to an administrative subpoena served upon
AT&T as a parent corporation ofCricket Wireless, target telephone number; 716-990-2686 is
"[p]ossibly a former Legacy Cricket subscriber." See Exhibit 1.
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Information"),^ for a period ofthirty(30) days. The aforementioned account was activated

on or about December 15, 2016 and was still currently active as of January 15, 2019.



       7.      As set forth in this affidavit, probable cause exists to believe that the requested

information will lead to evidence of offenses involving violations of Title 21, United States

Code, Sections 841(a)(1) and 846, possession with intent to distribute and conspiracy to

distribute cocaine, heroin, and fentanyl,(collectively, the Target Offenses), being committed

by JAKE SERIGHT,as well as the identification ofother individuals who are engaged in the

commission ofthese offenses.




                                PRIOR AUTHORIZATIONS


       8.      On October 31, 2018, the Honorable Jeremiah J. McCarthy issued a search

warrant and order authoiizmg the collection of precise location data for 716-990-2686 (the

Target Telephone) for a period of 30 days, which expired on November 30, 2018 (18-mj-

1209). On November 1, 2018, the Honorable Jeremiah J. McCarthy issued an order

authorizing the installation and use of a pen register and trap and trace device for 716-990-

2686(the Target Telephone)for a period of60 days(18-MR-364).




^ Such information shall, where other information is unavailable, include records reflecting
the tower and antenna face ("cell site") used by the Target Telephone at the start and end of
any call. In requesting cell site information, the government does not concede that such cell
site records-routinely retained by wireless carriers as business records-may only be obtained
via a warrant issued on probable cause.             In re Application. 460 F. Supp. 2d 448
(S.D.N.Y. 2006) (authorizing prospective acquisition of cell-site records under combined
authority of 18 U.S.C. §§ 2703(d) and 3121, et seq.l.
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       9.      On November 28, 2018, the Honorable H. Kermeth Schroeder, Jr. issued a

search warrant and order authorizing the collection of precise location data for 716-990-2686

(the Target Telephone)for a period of30 days(18-MJ-217). After serving said search warrant

and order on AT&T, the DBA was informed by AT&T that the IMSI associated with the

Target Telephone in the search warrant and order was recentiy changed and that as a result

AT&T would not supply the precise location data sought by investigators. Accordingly,

investigators subpoenaed the new IMSI associated with the Target Telephone and leamed it

was changed from 310150709156801 to 310150720590647. On December 13, 2018, the

Honorable Michael J. Roemer issued a search warrant and order authorizing the collection

of precise location data for 716-990-2686(the Target Telephone)for a period of30 days(18-

MJ-5268).



       10.     On December 21, 2018, the Honorable Jeremiah J. McCarthy issued an order

authorizing the installation and use of a pen register and trap and trace device for 716-990-

2686(the Target Telephone)for a period of60 days(18-MR-400).



       11.     On January 17, 2019, the Honorable Jeremiah J. McCarthy issued a search

warrant and order authorizing the collection ofprecise location data for the Target Telephone

for a period of 30 days(19-MJ-27).



       12.     On February 6, 2019, the Honorable WiUiam M. Skremy, United States

District Court Judge, Westem District of New York, issued an order authorizing the

interception ofa wire and electronic communications over the Target Telephone(19-MR-25).
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                      BACKGROUND OF THE INVESTIGATION


       13.      DBA and other Law Enforcement have been conducting an investigation into

the drug trafficking activities of an interstate DTO operating between New York, California,

Michigan, and Georgia. This investigation revealed that the organization is moving bulk

quantities ofcocaine,heroin,and fentanyl to the Western New York area. JAKE SERIGHT

is a member of this DTO and works as a multi-kilogram distributor on behalf of this

organization.



                                   PROBABLE CAUSE


       14.      On October 2, 2018, DBA SA David Leary, your Affiant and others met with

DBA a confidential source (CS) to discuss the drug trafficking activities of, inter alia,

JAKE SERIGHT. The CS advised that, based upon recent conversations with

SERIGHT,the CS can purchase both cocaine and heroin from SERIGHT. SERIGHT

stated that he would sell the CS one ounce of heroin for $1900. Furthermore, the CS stated

that SERIGHT purchased 2 kilograms of heroin for $90,000 from a source of supply in

Detroit, Michigan approximately 2 months ago. The CS believed that the Detroit source of

supply was possibly SERIGHT's cousin. The CS then advised that SERIGHT usually

purchased his cocaine from a second source of supply, who possibly resided in California.

SERIGHT also purchased cocaine from a third source of supply, JERMAINE TRAYLOR,

who resides in Atlanta, OA. Recently TRAYLOR was selling kilograms of cocaine for

$56,000.00 per kilogram.
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       15.    On that same date, the CS stated that SERIGHT drove a burgundy Ford F-150

pickup truck and that SERIGHT was currently living at 1118 13th Street, Niagara Falls, NY,

which SERIGHT recently purchased. The CS also advised SERIGHT utilized cellular

telephone number 716-990-2686 and does not often change his number.                    An

administrative subpoena was subsequently sent to AT&T for that telephone number

requesting toU and subscriber data.^



       16.    Finally, the CS stated that SERIGHT is a "daytime" guy, meaning that

SERIGHT only conducts retail-level narcotics transactions during the daytime. The

CS believed that SERIGHT might store his narcotics at his brother's residence. That brother

was identified as JULIAN SERIGHT,who resides at 2716 21st, Niagara Falls, NY. The CS

also believed that SERIGHT might store his narcotics proceeds with his mother, IDA

SERIGHT, where she resides at 2736 21st, Niagara Falls, NY.^


       17.    The DEA has conducted a series of controlled purchases of narcotics from

SERIGHT. Each ofthe transactions were arranged over the Target Telephone. Before each

controlled purchase, the CS was searched for contraband with negative results and equipped

with recording devices. Law Enforcement established surveillance before, during and after

each transaction. After each transaction, the CS tumed over a quantity of narcotics, which

the CS confirmed was provided by SERIGHT.




3 AT&T responded to the administrative subpoena sent as Cricket Wireless's parent
organization. The information gleaned from the service ofthe DEA administrative subpoena
was included supra.
4 It should be noted thatIDA SERIGHT'S address, 2736 21" Street, Niagara Falls, NY was
the same address listed on the AT&T subscriber information for the Target Telephone.
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             October 15.2018 Controlled Purchase ofFentanvl from SERIGHT


       18.     On October 15,2018, at approximately 4:50 pm, members ofthe DEA Buffalo

Resident Office, Niagara Falls Police Department(NFPD),and the New York State Attorney

General's Organized Crime Task Force(OCTF)met with the CS to finalize plans to purchase

one ounce of heroin for $1,900 U.S. currency from SERIGHT. The CS and SERIGHT

previously established the date and time of the drug transaction via text messages over

SERIGHT'S telephone number 716-990-2686(the Target Telephone).



       19.     At approximately 5:33 pm, TEA Chris Kozell observed the CS arrive at the

predetermined meet location, park their vehicle, and enter the building. At approximately

5:36 pm, SERIGHT texted the CS using the Target Telephone and advised that he was on

his way. At approximately 5:45 pm,NFPD Det. Joseph Palermo observed SERIGHT

exit 2645 North Avenue in Niagara Falls, NY and enter a 2015 black Toyota Camry sedan

bearing NY registration (HEN8507). That vehicle was registered to Deasia Ziare Mays at

9021 Zito Drive, Apartment 40, Niagara Falls, NY 14304. Mays is believed to be the

stepdaughter of SERIGHT. At approximately 5:58 pm, TEA Kozell observed the

aforementioned Toyota Camry puU up to and park in front of the same predetermined meet

location. A black male wearing a black hoodie exited the Camry and entered the building

via the fi-ont door. Inside, SA Leary was able to hear the conversation between the CS and

SERIGHT during the drug transaction. The conversation between the CS and SERIGHT

was audio and video recorded.
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       20.    SERIGHT departed the pre-determined meet location at approximately 6:04

p.m. in the Toyota Camry and the CS exited the aforementioned location approximately one

minute later. The CS was followed to another neutral location where SA Leary and SA

Wisniewski debriefed the CS. The CS stated that SERIGHT engaged in a transaction with

the CS wherein the CS handed SERIGHT the $1900 U.S. currency in exchange for a quantity

of suspected controlled substance. The CS stated that the CS was $60 short on the payment

but that SERIGHT would accept payment of the debt during a future drug transaction.

Further, the CS described their discussion about the quality of the heroin. SERIGHT

advised the CS to add a cutting agent to the heroin and assured that customers would stiU be

happy with the product. SERIGHT stated he only had one other customer for the heroin

and that he makes approximately $10,000 per kilogram of heroin. SERIGHT and the CS

agreed to meet again soon. The CS believed that SERIGHT still had a good amount of the

2 kilograms of heroin he had recently obtained available for purchase. The CS stated that

the CS believes SERIGHT obtained the suspected heroin and/or fentanyl from a family

member in Detroit, Michigan.



       21.    During the debriefing, investigators retrieved the suspected controlled

substance purchased by the CS, as well as the technical recording equipment. The suspected

controlled substance was submitted to the DEA's Northeast Laboratory for rush analysis

where it was confirmed that said substance weighed 27.984 grams without packaging and

contained fentanyl.
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     November 8.2018 Controlled Purchase ofSnspected Fentanvl from SERIGHT

       22.       On November 8, 2018, Jake SERIGHT sold a quantity offentanyl to the CS

in exchange for $2,020 U.S. currency. At approximately 1:55 p.m. members of the DBA,

NFPD and the OCTF met with the CS to finalize plans to purchase heroin (suspected

fentanyl)from SERIGHT.^ The CS and SERIGHT previously established the date and time

of the drug transaction via recorded telephone conversation(s) with SERIGHT utilizing

telephone    number      716-990-2686      (the    Target    Telephone).     Those telephone

calls were downloaded by SA Dave Leary, as witnessed by SA Christopher Wisniewski, and

submitted into evidence.




       23.    The CS arrived at 1553 Pierce Avenue, Niagara Falls, NY, parked the CS

vehicle and entered the building at approximately 2:30 pm. At approximately 2:32 pm, SA

Leary advised that he observed SERIGHT operating a red pick-up truck in the vicinity of 18th

Street and Pierce Avenue in Niagara Falls. SA Leary could see that SERIGHT had at least

one passenger with him. Specifically, SERIGHT'S vehicle was a 2010 red Ford F-150

bearing NY registration (JAN2743)and was registered to Deasia Ziare MAYS at 9021 Zito

Drive, Apartment 40, Niagara Falls, NY 14304. At approximately 2:34 pm, a CBP/AMP

Aerial Surveillance Unit (herein "ASU"), advised that SERIGHT was wearing a white or

light grey jacket, white or hght grey pants and a white or light grey hat.




5. During a past transaction on October 15, 2018 for approximately one ounce of heroin,
described supra, the CS was short on funds and owed SERIGHT $60. That debt was paid
during the instant transaction.


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       24.   At approximately 2:59 pm, the ASU observed SERIGHT drive from the

vicinity of 18th and Willow to the vicinity of 1553 Pierce Avenue. SERIGHT made a U-

tum, pulled up, parked and rolled up his window. SERIGHT entered the building at

approximately 3:00 pm, per the ASU. Inside, SA Leary was able to hear the conversation

between the CS and SERIGHT during the drug transaction. The conversation between the

CS and SERIGHT was recorded on audio and video medium and submitted into evidence as

well. At approximately 3:03 pm, SA Leary reported that SERIGHT would travel to obtain

the fentanyl in the area of the Target store in Niagara Falls, NY and return to the meet

location with the contraband.




      25.    After approximately 13 minutes of furtive driving, SERIGHT followed a

circuitous route through Niagara Falls, NY until he arrived at 9021 Zito Drive in Niagara

Falls, NY at approximately 3:34 pm. SERIGHT parked his truck in front of the front door

and went inside of the apartment building, as observed by the ASU.^ SERIGHT exited the

aforementioned apartment building at approximately 3:42 pm and traveled via a circuitous

route back to the vicinity of 1553 Pierce Avenue,followed by the ASU.^


      26.    SERIGHT arrived at 1553 Pierce Avenue at approximately 3:59 pm, parked,

and exited his truck. SERIGHT entered the meet location at approximately 4:00 pm to meet

with the CS. During the meeting, SERIGHT sold the CS approximately one ounce of




6.     According to OCTF Inv. Fomier, SERIGHT'S daughter, Deasia Ziare
MAYS,resided at 9021 Zito Drive, Apartment 40, Niagara Falls, NY.
7.     The CS remained at that location under surveillance while SERIGHT traveled to Zito
Avenue.



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suspected fentanyl in exchange for $2020 U.S. currency and supplied a second ounce of

suspected fentanyl to the CS on credit. The transaction was recorded on an audio and video.


       27.    The CS then departed the area and turned over the suspected fentanyl to law

enforcement. The suspected fentanyl was submitted for analysis to the DEA Northeast

Laboratory. The DEA Northeast Regional Laboratory analyzed the substance purchased

from JAKE SERIGHT on November 23,2018 and concluded the suspected heroin contained

56.1 grams of fentanyl and tramadol. Analysis confirmed no heroin was present in the

substance.




       28.    Thereafter, SERIGHT remained in the vicinity of 1553 Pierce Avenue. He

met with multiple subjects who arrived in various vehicles. The operation was terminated at

approximately 4:44 pm after it appeared that SERIGHT would not depart any time soon.



     December 19.2018 Controlled Purchase ofSuspected Fentanvl from SERIGHT

       29.    On December 19, 2018, Jake SERIGHT sold a quantity offentanyl to the CS

in exchange for $2,920.00 U.S. currency. During a meeting earher that day, SERIGHT

agreed to sell a quantity of heroin to the CS. During a recorded consensual phone call over

the Target Telephone, SERIGHT agreed to meet the CS in 40 minutes.



       30.    Before the narcotics transaction, JAKE SERIGHT first traveled to the

suspected stash location, an apartment complex at 9021 Zito Drive, Niagara Falls, NY,and

then met the CS at a predetermined meet location with the narcotics. The vehicle operated

by SERIGHT was registered to Deasia Mays of 9021 Zito Drive, Apt. 40, Niagara Falls,


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NY. During the transaction, the CS provided SERIGHT with $1960.00 of DEA Funds as

the second and final payment for the controlled purchase conducted on November 8, 2018.

The CS then purchased approximately 2 ounces of suspected heroin from SERIGHT for an

additional $2,920.00 ofDEA Funds. The transaction was recorded on audio and video.



       31.     Immediately following the controlled purchase, agents and investigators

surveilled SERIGHT leave the meet location, meet with an individual and travel to an

unknown residence on 10^ Street in the city of Niagara Falls, NY. Surveillance was

terminated at that time.




             Febraarv 13«2019 Controlled Purchase of Coraine from SERIGHT

       32.     On February 13, 2019, Jake SERIGHT sold a quantity ofcocaine to the CS in

exchange for $2,750.00 U.S. Currency. Earlier that day, SERIGHT and the CS arranged a

meeting through text messages over the Target Telephone. During the meeting, SERIGHT

agreed to sell a specific quantity ofcocaine to the CS for $2,750.00. SERIGHT then retumed

to his residence. Approximately 40 minutes later, SERIGHT and the CS arranged a second

meeting through text messages over the Target Telephone to exchange the cocaine for cash.

Law Enforcement conducted surveillance on SERIGHT before and during both meetings.



       33.     During the transaction, the CS provided SERIGHT with $2,750.00 of DEA

Funds and SERIGHT provided the CS with approximately 62 grams ofcocaine. SERIGHT

indicated to the CS that SERIGHT had additional quantities ofcocaine on his person. The

transaction was recorded on audio and video.




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                           Wire Intercept of Target Telephone

       34.    On February 6,2019, Agents received authorization for the interception ofwire

and electronic communications over the Target Telephone for a period of 30 days(19-MR-

25). The first interception took place in February 7, 2019 and monitoring terminated at the

expiration of the order's authorization on March 8, 2019.



       35.    During the course of the wire intercept of the Target Telephone, Agents were

able to identify SERIGHT's customer base throughout Niagara Falls, NY, 1 of 2 stash

locations, and a possible source of supply for cocaine. Agents believe Baron HALL is the

source of supply of cocaine for SERIGHT. Through the use of mobile surveillance.

Confidential Source information, intercepted communications and Ping, agents observed

several meets with the HALL, at which Agents believe SERIGHT purchased several

kilograms ofcocaine.



       36.    The government has sought and obtained approval to renew the interception of

wire and electronic communications over the Target Telephone from the Office of

Enforcement Operations of the Criminal Division. The govemment anticipates the issuance

of the Court's Order on March 20, 2019. Accordingly, investigators continue to investigate

the criminal organization and are attempting to identify the second unknown stash location,

collect evidence that may be used in court to prosecute SERIGHT, HALL, and their co-

conspirators, and identify HALL's source ofsupply.




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                              AUTHORIZATION REQUEST


       37.    Based on the foregoing, there is probable cause to believe that the Target

Telephone was used, is currently being used, and will continue to be used by JAKE

SERIGHT to commit and facilitate narcotics crimes, specifically the Target Offenses, in the

Westem District of New York(WDNY)and elsewhere. There is also probable cause to

believe the requested information will lead to information necessary to determine the

approximate locations ofTarget Telephone so that SERIGHT may be charged and will assist

in identifying possible co-conspirators, stash locations for the DTO's controlled substances

and/or proceeds, and serve as corroborative evidence of SERIGHT's drug trafficking and

criminal associations with co-conspirators.



       38.    I respectfully request an order for disclosure of location-based services for a

period of thirty days for Cricket Wireless and/or AT&T telephone number 716-990-2686

(the Target Telephone).     I believe that monitoring the transmissions from the Target

Telephone will provide investigating agents the ability to effectively conduct surveillance and

to identify the user(s) of the Target Telephone and to identify other conspirators, without

compromising the ongoing investigation. Such an order would(1)operate at any time ofthe

day or night as required;(2) would be expressly limited to transmissions needed to ascertain

the physical location of the Target Telephone; and (3) would expressly exclude any voice

communications transmitted from the Target Telephone.

       39.    WHEREFORE,pursuant to Federal Rule of Criminal Procedure 41 and Title

18, United States Code, Section 2703(c)(1)(A), it is requested that the Court issue a Warrant

and Order authorizing the acquisition of the requested information and directing Cricket



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Wireless and/or AT&T,the service provider for the Target Telephone, to initiate a signal to

determine the location ofthe Target Telephone on the service provider's network or with such

other reference points as may be reasonably available and at such intervals and times as

directed by the law enforcement agent serving the proposed order, and to furnish the technical

assistance necessary to accomplish the acquisition unobtrusively and with a minimum of

interference with such services as that provider accords the user of the Target Telephone, for

a period of thirty (30) days. Reasonable expenses incurred pursuant to this activity will be

processed for payment by DBA.



       rr IS FURTHER REQUESTED,pursuant to 18 U.S.C.§ 3103a(b)and Federal Rule

of Criminal Procedure 41(f)(3), that the Court authorize the officer executing the warrant to

delay notice until June 30, 2019. There is reasonable cause to believe that providing

immediate notification of the warrant may have an adverse result, as defined in 18 U.S.C. §

2705. Providing immediate notice to the subscriber or user of the Target Telephone would

seriously jeopardize the ongoing investigation, as such a disclosure would give that person an

opportunity to destroy evidence, change patterns of behavior, notify confederates, and flee

firom prosecution. See 18 U.S.C. § 3103a(b)(l). Notification could especially damage the

investigation into the source of supply who could become suspicious of individuals with

whom they work to arrange their narcotics distribution activities, which in turn could lead

them to become more secretive. As such,these risks justify the requested delayed notification

for the additional time described above. See 18 U.S.C.§ 3103a(b)(3). The proposed search

warrant does not authorize the seizure ofany tangible property. See 18 U.S.C.§ 3103a(b)(2).




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       IT IS FURTHER REQUESTED that the Court authorize execution ofthe warrant at

any time of day or night, owing to the potential need to locate the Target Telephone outside

of daytime hours.



                                   REQUEST TO SEAL

       IT IS EURTHER REQUESTED that the warrant and this aflhrmation, as it reveals

an ongoing investigation and sealed indictments, be sealed until June 30, 2019 unless

otherwise ordered by the Court, in order to avoid premature disclosure of the investigation,

guard against fugitives, and better ensure the safety of agents and others, except that working

copies should be made available to the United States Attorney's Office, DEA,and any other

law enforcement agency designated by the United States Attorney's Office.




                                           DAVID ICe^ARY
                                           Special Agent
                                           Drug Enforcement Administration


Sworn to before me


this<7^^day of March 2019


                    -h:i
HQ^ORA^^ JER^MI^ J. McCARTHY
United States Magistra^g^udge




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AXXXXXXXX
                                                                    CRICKET
12/11/2018
                                    WIRELESS
                            SUBSCRIBER INFORMATION


335343300




FINANCIAL LIABLE PARTY


Name: JAMES SERIGHT
Credit Address: 2736 21ST ST, NIAGARA FALLS,NY 14305

Activation Date: 12/15/2016

Contact Name: JAMES SERIGHT
Contact Home Phone:                    Contact Work Phone:



BILLING PARTY


Account Number: 335343300
Name: JAMES SERIGHT
Billing Address: 2736 21ST ST, NIAGARA FALLS,NY 14305
Account Status: OPEN                  Billing Cycle: 15


USER INFORMATION


MSISDN: (716) 990-2686                 IMSI: 310150720590647
MSISDN Active: 12/15/2016 - Current
MSISDN Status: Active
Name: JAMES SERIGHT
User Address: 2736 21ST ST , NIAGARA FALLS, NY 14305
Service Start Date: 12/15/2016         Dealer Info: 70034101
Payment Type: Prepaid
Contact Name: JAMES SERIGHT
Contact Home Phone:                    Contact Work Phone:
Migration Ind: N                        Migration Date:




LDS


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